                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                     3:10cr249

UNITED STATES OF AMERICA            )
                                    )
v.                                  )                                ORDER
                                    )
DENNIS JUSTIN MOORE, JR. (1)        )
____________________________________)

        THIS MATTER comes before the Court upon the defendant’s Motion for Bond Review,

pursuant to 18 U.S.C. § 3142(f). (Doc. No. 38).

        The defendant seeks reconsideration of his detention because he has pled guilty to a

counterfeiting charge and has been held in custody the length of the United States Sentencing

Guidelines range contemplated by the plea agreement. (Id. at 1-2). The Court does not find that

this information alters the magistrate judge’s determination, by preponderance of the evidence,

that no combination of conditions would reasonably assure the appearance of the defendant.

(Doc. No. 5: Order). Additionally, the advisory guideline range suggested by the parties does

not control the Court’s determination of the sufficient, but not greater than necessary, sentence.

Fed. R. Crim. P. 11(c)(1)(B). However, in order to protect the defendant against the risk of over-

serving his eventual sentence, the Court will endeavor to schedule a sentencing hearing as soon

as practicable.1

        IT IS, THEREFORE, ORDERED that the defendant’s Motion for Bond Review (Doc.
                                                  Signed: May 10, 2011
No. 38) is DENIED.




        1
         If the defendant chooses to waive his right to the 35-day period between release of the
presentence report and the sentencing hearing, the Court could schedule this matter for June 6,
2011.
        Case 3:10-cr-00249-RJC Document 40 Filed 05/10/11 Page 1 of 1
